






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00841-CV






In re Cynthia Johnson






ORIGINAL PROCEEDING FROM BELL COUNTY





M E M O R A N D U M   O P I N I O N


	Relator has filed a motion for emergency stay and petition for writ of mandamus.  See Tex.
R. App. P. 52.8, 52.10.  Having reviewed the pleadings and the record provided, we deny the petition
for writ of mandamus.

						__________________________________________

						David Puryear, Justice

Before Chief Justice Jones, Justices Puryear and Pemberton

Filed:   January 7, 2011



